

Matter of Blasetti v Metropolitan Transp. Auth. (2020 NY Slip Op 06380)





Matter of Blasetti v Metropolitan Transp. Auth.


2020 NY Slip Op 06380


Decided on November 10, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 10, 2020

Before: Manzanet-Daniels, J.P., Kapnick, Mazzarelli, Moulton, JJ. 


Index No. 158254/18 Appeal No. 12309 Case No. 2019-5352 

[*1]In the Matter of Joanne Blasetti, Petitioner-Appellant,
vMetropolitan Transportation Authority et al., Respondents-Respondents.


Hasapidis Law Offices, Scarsdale (Annette Hasapidis of counsel), for appellant.
Bee Ready Fishbein Hatter &amp; Donovan, LLP, Mineola (Andrew K. Preston of counsel), for respondents.



Judgment (denominated an order), Supreme Court, New York County (Lynn R. Kotler, J.), entered June 19, 2019, denying the petition to annul that portion of the determination of respondent Metropolitan Transit Authority Defined Benefit Pension Plan Board of Managers, dated May 11, 2018, which, after a hearing, denied petitioner's application for accident disability retirement benefits, and dismissing the proceeding brought pursuant to CPLR article 78, unanimously affirmed, without costs.
Respondent's determination was rational and was not arbitrary and capricious (see generally Matter of Pell v Board of Educ. of Union Free School Dist. No. 1 of Towns of Scarsdale &amp; Mamaroneck, Westchester County , 34 NY2d 222, 231 [1974]). 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 10, 2020








